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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      v.                             )
                                     ) Crim. Action No. 21-0495 (ABJ)
DANIEL PAUL GRAY,                    )
                                     )
                  Defendant.         )
____________________________________)


                                   SCHEDULING ORDER

       After considering the matters discussed at the status conference held in this case on July

19, 2022, it is ORDERED that the following schedule shall apply:

       1)      Any defense motion to dismiss, see Fed. R. Crim. Proc. 12(B)(A) and (B), or
               motion to suppress statements or evidence, must be filed by August 19, 2022. The
               oppositions will be due September 9, 2022, and any reply is due September 16,
               2022. If such motions are filed, a hearing will be held on September 30, 2022 at
               10:30 a.m. in Courtroom 3.

       2)      The notice of any evidence the government intends to seek to introduce
               pursuant to Fed. R. Evid. 404(b) or prior convictions it would seek to use for
               impeachment under Fed. R. Evid. 609 must be filed by November 28, 2022. The
               oppositions are due on December 12, 2022, and replies are due on December 19,
               2022.

       3)      Motions in limine on behalf of either party must be filed by November 28, 2022.
               Oppositions are due December 12, 2022, and replies are due December 19, 2022.

       4)      The parties must jointly file a single Joint Pretrial Statement by January 5, 2023.

       5)      Electronic and paper copies of all exhibits must be delivered to chambers and to the
               Deputy Clerk in the format set out below by January 9, 2023.

       6)      The pretrial conference will be held on January 12, 2023 at 9:30 a.m.

       7)      Trial will commence on January 18, 2023 at 9:30 a.m.



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       Any motion to extend a date for the submission of a pleading to the Court must be filed at

least two business days before the date to be extended.

       All pleadings must conform to the requirements concerning formatting and fonts set forth

in Local Civil Rule 5.1(d).

                              JOINT PRETRIAL STATEMENT

       The Joint Pretrial Statement must include:

       a)      a concise joint statement of the case;

       b)      an estimate of the number of days the trial is anticipated to last;

       c)      a list of all outstanding motions in limine;

       d)      a written waiver of trial by jury

       e)      The parties’ position on the law to be applied by the Court in resolving the factual
               issues to be tried to it, which may be provided in the form of a summary, but must
               be supplemented by the jury instructions the parties believe should guide the
               Court’s determination. The joint pretrial statement should include the instructions
               on which the parties agree and the instructions on which the parties disagree, with
               specific objections and supporting legal authority, if any, noted below each
               instruction.

       f)      Any instructions contained in the Standardized Civil Jury Instructions for the
               District of Columbia need not be separately provided to the Court, but should be
               identified by number only. Any other proposed instructions must be provided to
               the Court in their entirety.

       g)      a list of witnesses or potential witnesses

       h)      a list of expert witnesses, if any, accompanied by a brief description of each
               witness’s area of expertise and expected testimony, followed by specific objections
               (if any) to each witness;

       i)      a list of prior convictions, if any, that the government intends to use for
               impeachment or any other purpose, followed by any specific objections to that use;

       j)      a list of exhibits that each party intends to offer during trial that identifies each
               exhibit by number and specifies those exhibits to which there is an objection,


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               and the basis for the objection, e.g., “hearsay,” or “F.R.E. 403,” without further
               argument;

                          •   Exhibits will be presumed authentic unless an objection to their
                              authenticity is noted on the Joint Pretrial Statement. The exhibit list
                              shall be a separate attachment to the Joint Pretrial Statement.

                          •   Any objections on completeness grounds pursuant to F.R.E. 106
                              must be noted in the exhibit list, and the party seeking to require the
                              introduction of any other part of a writing or recorded statement
                              must provide a copy of the material the party maintains in fairness
                              ought to be considered at the same time on the date the exhibits are
                              delivered to chambers.

       k)      any stipulations, signed by counsel and the defendant;

       l)      a list of any matters of which the parties seek the Court to take judicial notice,
               along with the proposed language; and

       m)      a proposed verdict form.

                                          Format of Exhibits

       Counsel for each party must deliver to chambers copies of all exhibits the party will seek

to introduce – pre-marked with their exhibit numbers – in electronic form on a thumb drive (or

multiple thumb drives) and in paper form in a binder (or set of binders) divided by numbered tabs

with table of contents for each binder.

       A second set of the thumb drives containing the exhibits in electronic form must be

delivered to the Court’s Deputy Clerk.

       For the electronic copies, exhibits must be saved as a separate PDF labeled by exhibit

number and short description (for example, Def’s Ex. 27, Email of 11/28/2006). For the paper

copies, exhibits in binders must be divided by numbered tabs, with a table of contents in each

binder. Binders may not be larger than 3 inches. Exhibit binders must be labelled on both the




                                                 3
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front and the spine of the binder with the name of the party, volume number, and the numbers of

the exhibits found inside. (For example: Defendant’s Exhibits Vol. I, Ex. 1 – 27).

       SO ORDERED.




                                             AMY BERMAN JACKSON
                                             United States District Judge

DATE: July 19, 2022




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